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                                                                                              EXHIBIT 617.R

                                                                                                 EXHIBIT 617.R-001

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                                                                                                 EXHIBIT 617.R-002

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